         Case 2:19-cv-05030-JDW Document 86 Filed 12/09/20 Page 1 of 3




                                         December 9, 2020

              STATUS REPORT – E-DISCOVERY AND MOTION TO
          THAT PLAINTIFF BE PERMITTED TO ATTEMPT COMLIANCE
         WITH THE DECEMBER 4, 2020 ORDER THROUGH CORNERSTONE

Via E-filing
United States District Court
Eastern District of Pennsylvania
Honorable Joshua D. Wolson
601 Market Street
Room 3809
Philadelphia, PA 19106-1726
                       RE: Lisa Barbounis v. The Middle East Forum
                              No. 2:19-cv-05030-JDW
Dear Judge Wolson:

Please allow this email to serve as Plaintiff’s status report in connection with the December 4,
2020 Order.

On December 8, 2020, Plaintiff secured Cornerstone’s agreement to work with Plaintiff’s
counsel to produce the 578 text threads identified by Defendants and Ordered by the Court be
produced through an AEO production. Cornerstone agreed to provide Plaintiff with the entire
contents of the imaged devices and the Celubrite e-discovery software which will allow
Plaintiff’s counsel to identify and produce the 578 text threads. Cornerstone has also agreed to
work with counsel for Plaintiff to help Plaintiff work with Celubrite toward this objective.

Plaintiff’s counsel held a conversation with counsel for Defendants, Dave Walton this morning.
Mr. Walton stated that his client may object to Plaintiff attempting to produce this information in
this fashion.

The reason that Plaintiff is attempting to proceed this way is to maintain and control costs. The
cost of using an e-Discovery vender to produce 578 text threads could be more than ten-thousand
dollars. If there is a way to achieve the production of information without incurring this cost,
Plaintiff requests permission to do so.

Regarding the images, audio files, and video files, Plaintiff has produced all image files that
Plaintiff identified as relevant to the instant matter. Plaintiff certifies that all image files have
been produced which were identified by Plaintiff through Bates Stamps MEF Images (LB)
00001 through 01355.

      New York City Office: One Penn Plaza, Suite 4905, New York, NY 10119 | (212) 587-0760
    Philadelphia Office: 1835 Market Street, Suite 2950, Philadelphia, PA 19103 | (215) 391-4790
           Miami Office: 100 SE 2nd Street, Suite 2000, Miami, FL 33131 | (305) 946-1884
          New Jersey Office: 73 Forest Lake Drive, West Milford, NJ 07421 | (973) 388-8625
                 Website: www.discriminationandsexualharassmentlawyers.com
         Case 2:19-cv-05030-JDW Document 86 Filed 12/09/20 Page 2 of 3




There are still audio and video files which Plaintiff will produce today and file a subsequent
certification on the docket to that effect.
Should the Court not allow Plaintiff to attempt to produce the information through the assistance
of Cornerstone, please allow this Status Report to serve as certification that Plaintiff did retain
Capsicum. Capsicum was already in possession of the images of the devices. Plaintiff’s counsel
provided Capsicum with the Excel Spreadsheet that Defendants made which identifies the text
threads at issue. Should the Court deny Plaintiff’s request to work with Cornerstone, Capsicum
will use the list of text threads provided by Defendants in an Excel Spreadsheet to produce those
threads in the same format which was already used for the 68 text threads. The 68 text threads
already produced includes images, emojis, and clickable links.



                                                     Very Truly Yours,

                                                     DEREK SMITH LAW GROUP, PLLC

                                                 BY:___/s/ Seth D. Carson________
                                                      Seth D. Carson, Esquire


CC: All parties through ECF




                                                 2
         Case 2:19-cv-05030-JDW Document 86 Filed 12/09/20 Page 3 of 3




                               CERTIFICATE OF SERVICE



       I hereby certify that on this date that I caused a true and correct copy of Plaintiff’s

Status Report was served via the Court’s ECF filing system:


                                  David J. Walton (PA # 86019)
                                  Leigh Ann Benson (PA #319406)
                                  Cozen O'Connor
                                  1650 Market Street, Suite 2800
                                  Philadelphia, PA 19103
                                  P: 215-665-2000
                                  F: 215-665-2013
                                  dwalton@cozen.com
                                  lbenson@cozen.com

                                  Sidney L. Gold sgold@discrimlaw.
                                  Sidney L. Gold & Associates P.C.
                                  1835 Market Street, Suite 515
                                  Philadelphia, PA 19103
                                  Tel: (215) 569-1999
                                  Fax: (215) 569-3870
                                  Counsel for The Middle East Forum


                                            DEREK SMITH LAW GROUP, PLLC




                                            BY:__/s/_Seth D. Carson_____________

                                                   SETH D. CARSON




DATED: December 9, 2020




                                               3
